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STORZER & ASSOCIATES, P.C.
Sieglinde K. Rath (SR7208)

Roman P. Storzer, admitted pro hac vice
Robert L. Greene, admitted pro hac vice
1025 Connecticut Ave., N.W. Suite 1000
Washington, D.C. 20036

Tel: 202.857.9766

Fax: 202.315.3996

Counsel for Plaintiffs

WILENTZ, GOLDMAN & SPITZER, P.A.
Donna M. Jennings (DJ 7790)

90 Woodbridge Center Drive

Post Office Box 10

Woodbridge, New Jersey 07095
Co-Counsel for Plaintiff WR Property LLC

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

AGUDATH ISRAEL OF AMERICA, a New
York non-profit corporation, and WR PROPERTY
LLC, a New Jersey limited liability company, Civ. No. 3:17-DV-03226

Plaintiffs,

Vv.

TOWNSHIP OF JACKSON, NEW JERSEY,
MICHAEL REINA, ROBERT NIXON, HELENE
SCHLEGEL, JEFFREY PURPURO, WILLIAM
CAMPBELL, and KENNETH PIESLAK,

Defendants.

DECLARATION OF DEVORAH GRUSKIN

DEVORAH GRUSKIN declares as follows, pursuant to 28 U.S.C. § 1746:
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l. I live at 14 Arizona Avenue in Jackson Township, New Jersey.

— I submit this declaration in support of Plaintiffs’ motion for a preliminary injunction.
3. Tam a member of Agudath Israel.

+. I have two school aged children, I believe that my children must attend a Jewish

school where they will be taught our religious laws and traditions in addition to their
secular studies. The school must also follow Jewish laws such as laws of kashrut
(Kosher dietary laws).

Ds There is no school in Jackson for my children to attend which furthers my religious
beliefs, so they must attend a school in Lakewood. The drive to school usually takes
around | and 1/14 hours and the drive home usually takes around 45 minutes. School
Starts at 9 a.m. and my sons are picked up 7:43 a.m.

6. My sons are late almost every day and miss out on prayers and religious studies and
are falling behind in learning their prayers and learning to lead prayers, which is a
religious obligation that they will have when they are older,

te If there was a school in Jackson, my sons wouldn’t miss out on prayers and religious
studies and would be learning their prayers and learning to lead prayers.

8. The ordinances regarding schools do not affect my neighbors whose religious beliefs
permit them to send their children to schools in Jackson, but they affect me as an

Orthodox Jew,
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I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed on August hi 2019

wit I PS

DEVORAH GRUSKIN

